
The whole Court (Strong, Sedgwick, Sewall, and Thacher, justices) were clearly of opinion that the evidence offered was not the best evidence which the nature of the case admitted ; that the receipts of the collector were better evidence than the evidence offered ; (a) which might be obtained, and should therefore be produced. Strong and Sedgwick, justices, said that they were strongly inclined to think that the assessment of the taxes ought also to be proved, that it might appear to the Court that they were a legal claim on the administrator. The other two justices seemed to think it would be sufficient to produce the receipts of the collector without proving the assessment.

 [The receipts of the collector were not alone evidence of the amount paid, '•'his could only be proved by the collector or another witness.—Ed.]

